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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

UNITED STATES OF AMERICA,

                                              CRIMINAL ACTION NO.

      v.                                      1:14-CR-0008-CAP-JSA

CURTIS JONES,



                                   ORDER

      This matter is before the court on the report and recommendation of

the magistrate judge [Doc. No. 79]. The parties have not filed objections to

the report and recoomendation. After carefully considering the report and

recommendation of the magistrate judge and finding no error, the court

receives the report and recommendation with approval and adopts it as the

opinion and order of this court.

      SO ORDERED this 20th day of February, 2015.


                                    /s/ Charles A. Pannell, Jr.
                                    CHARLES A. PANNELL, JR.
                                    United States District Judge
